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                                      UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                            wwvv.flsb.iiscourts.gov

                                                        CHAPTER 13 PLAN (Individual Adiustment of Dehtsf
                                                                             Original Plan

                               □                                             Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                               □                                             Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Jose Angel Gonzalez                                  JOINT DEBTOR:                                       CASE NO.:

     SS#: xxx-xx- 3505                                             SS#: xxx-xx-

     I.           NOTICES

                  To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                         modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                         Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                         the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                  To Creditors:          Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                         be reduced, modified or eliminated.
                  To All Parties:     The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                       on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                      i I   Included           s Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                      [~l   Included           [■]   Not included
          out in Section III

          Nonstandard provisions, set out in Section IX                                                               [■]   Included           □ Not included
    II.          PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE


                 A.      MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                        fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                        amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                        1.     $517.53               for months         to 36        ;

                 B.     DEBTOR(S)' ATTORNEY'S FEE:                                              □ NONE   □ PRO BONO
              Total Fees:                $4,650.00           Total Paid:                 $1,625.00        Balance Due:          $3,025.00

              Payable              $465.78           /month (Months     1    to     6    )
              Payable              $230.32           /month (Months    7     to     7    )
              .Allowed fees under LR 2016-1(B)(2) are itemized below:
              Safe Harbor: $4,500.00 Attorney’s Fees + $150.00 Costs = $4,650.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    III.         TREATMENT OF SECURED CLAIMS                          □ NONE
                 A. SECURED CLAIMS:                  H NONE
                 B. VALUATION OF COLLATERAL;                        1] NONE
                 C. LIEN AVOIDANCE U NONE
                 D. SURRENDER OF COLLATERAL:                          □ NONE
                 Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                     [■] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
                          request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
                         personam as to any codebtor(s) as to these creditors.

                        □ Other:


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                                                                              I)ob(or(s): Jo.sc Angel Gon/'ale^                 Case number;

                               Name of Creditor              I.ast 4 Diiiits of Account No, Description oFColiaterai (Address. Vehicie. etc.)
                               Westgate Blue Tree Resort     6036                               Unit 1-106 during Unit Weeks 12. during Assigned year
                                                                                                WHOLE.
                                                                                                 12007 Cypress Run Roda, Oriando, PL 32836 Biiildint’ I.

             E. DIRECT PA^ MENTS                   @ NONE
IV.          TREATMENT OF FEES AND PRIORITY C I.AIMS fas defined in                                 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]    0 NONE
\.           TRE ATMENT OF IJNSECTIRED NONPRIORITY CREDITORS                                         n NONE
                A. Pa>                so.oo       /month (Months         1   to 6    )

                         Pay         S235.46      /month (Months         7   to 7    )

                         Pay         S465.78       'month (Months        8   to 36   )

                         Pro rata dividend will be calculated by the rrustee upon review of filed claims after bar date.

                B. [3 Ifchecked, the Debtor(s) will amend/modify to pay 100”o to all allowed unsecured nonpriority claims.
                C.       SEPARATELY CLASSIFIED:               0 NONE
VL           STliDENT LOAN PROGRAM                      0 NONE
Ml.          EXECTTORV CONTRACTS AND UNEXPIRED LEASES                                         Q NONE
      Secured claims filed by any creditor/lessor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
                     0 Unless provided for under a separate section, the debtor(s) request that upon confirmationof this plan, the automatic stay be
                            terminated in rem as to the debtor(s) and in rent and in personam as to any codebtor(s) as to these creditors/iessors. Nothing
                            herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

                   Name of Creditor                         Collateral                               Acet. No. (Last 4 Digits) Assume/Reiect
                     Alex Alahakoon / TIA Real Estate 7601 E Treasure Dr APT 719,                    0719
                   Holding                                  NBay Village. FL33I41                                             0 Assume Qj Reject
MIL          INCOME TAX RETURNS AND REFUNDS;


                     0 Deblor(s) will not provide lax returns unless requested by any interested party pursuantto I I U.S.C. § 521.
IX.         NON-STANDARD PLAN PROVISIONS □ NONE
            0 Nonstandard provisions must be set forth below. .A nonstandard provision is a provision not otherwise included in the Local
                     Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
                  Confirmation of the plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
                  before confirmation.

            I I Mortgage Modillcation Mediation




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                                                                    Dcblor{s): Jose Angci (lon/akv                 Case nuinber;




                            PROPtR n OF THE ESTATE WILL VEST IN THE DEBTOR(S) LPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is Irue and correct under penalty of perjury.



        ●V                                       Debtor                                                    Joint Debtor
                                                          \ Date                                                                   Date
     >sh Angel Gonzalez



  /$/ Jose A. Blanco. Esq.
                                                          Date
    Attorney with permission to sign on
     Debtor(s)' behalf who certifies that
     the contents of the plan have been
       review'ed and approved by the
                                        !
                           Debtorfs).


   By filing this document, the .Attorney for Del)tor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the platj
   contains no nonstandard provisions other than those set out in paragraph IX.




*This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)' behalf.




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